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                  EXHIBIT B
          Case 21-30085-sgj11 Doc 19 Filed 01/19/21                                                                           Entered 01/19/21 14:39:35                                                  Page 2 of 2

          Vendor                      Service Provided                  Account Number        Average Monthly Bill    Contact Information (Phone)                   Contact Information (Mailing Address)

AT&T Association         POTS line                                       1717950654354                          $20         1-800-222-1000
CENTURY LINK             Long Distance and Inbound Toll Free Service       68449622                         $11,000         1-800-860-1020          CenturyLink PO Box 52187 Phoenix, AZ 85072-2187
COMCAST BUSINESS         Internet Service Fairfax to DC Office             933669439                         $2,100         1-800-391-3000
COMCAST BUSINESS DC
                         Cable TV Service DC Office                    8299 70 007 0764558                    $400          1-800-391-3000
(CABLE)
COX FAIRFAX              Cable TV Service Fairfax HQ                     10101030607201                      $1,400          703-480-7855
GRANITE DC               POTS Lines DC Office                               3257851                           $300          1-866-847-1500
INTRADO LIFE & SAFETY
                                                                              28593
INC.                     911 Services for Fairfax HQ                                                          $250          1-800-841-9000
MASERGY 3041             Local inbound and outbound phone services          MC003041                         $1,300         1-877-463-7374          Masergy Communications, Inc. PO Box 733938, Dallas TX 75373-3938
MASERGY                  Local inbound and outbound phone services           434654                          $2,400         1-877-463-7374          Masergy Communications, Inc. PO Box 733938, Dallas TX 75373-3938
MEETINGONE               Conference Calling Services HQ                   A01000067416                       $1,500         1-888-523-8445
SPECTRUM BUSINESS        Internet Service FODC in MO                   8845 30 069 0066713                   $1,200         1-888-812-2591          Charter Communications, PO Box 94188, Palatine IL 60094-4188
VERIZON FAIRFAX          POTS Lines HQ                                 850-050-598-0001-86                    $900          1-800-837-4966
                                                                       750-465-589-0001-88
VERIZON GAOS (PHONE)
                         Phone Service GAOS office PA                   717-566-0175 808                        $40         1-800-837-4966
VERIZON GAOS
                         Internet Service GAOS office PA               451-872-649-0001-28                    $170          1-800-837-4966
(INTERNET)

VERIZON HQ (INTERNET)                                                       U0211171
                         Internet Service HQ                                                                 $1,500         1-800-806-8470          VerizonPO Box 15043Albany, NY 12212-5043
WINDSTREAM DC OFC        Local and LD phone service DC office               5791518                           $600          1-800-347-1991          Windstream P.O. Box 9001013 Louisville, KY 40290-1013
WINDSTREAM FFX HQ        Local FAX service and back-up HQ                   5271239                          $1,000         1-800-347-1991          Windstream P.O. Box 9001013 Louisville, KY 40290-1013
ZAYO GROUP               Internet Service HQ and DR to PA                    023346                          $4,000         1-866-364-6033
Dominion Energy          Electricity                                       9426355005                       $40,000         (866) 366-4357          PO Box 26543Richmond, VA 23290-0001
Waste Management of
                         Dumpster Service                                13-56190-03005                      $3,000         (800) 553-7771          PO BOX 43470Phoenix, AZ 85080
Virginia, Inc.
Fairfax Water            Water                                             307041541                         $3,000         (703) 698-5800          8570 Executive Park AveFairfax, VA 22031
                                                                       8155 60 038 5492106;                                                         PO Box 60533 City of Industry, CA 91716 ;
Comcast
                                                                       8299 70 007 0764558                                                          PO Box 70219 Philadelphia, PA 19176
                         Data Provider                                                                       $2,100         1-855-270-0379
WindStream Enterprise    Phone Provider                                     5791518                          $2,000         (800) 600-5050          PO Box 9001013 Louisville, KY 40290
Washington Gas           Natural Gas                                      32000430275                        $1,000         (844) 327-4427          6801 Industrial RoadSpringfield, VA 22151-4294
Elite Power and Energy
                         Propane and Propane Maintenance                       670                            $400          (703) 339-2800
Corporation                                                                                                                                         11420 Pleasant Vale Road Delaplane, VA 20144
